          Case
 Fill in this      15-06503-jw
              information to identify theDoc
                                          case:         Filed 12/21/18 Entered 12/21/18 12:22:16                            Desc Main
                                                          Document     Page 1 of 6
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Natha Lee Mazyck
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                                             South Carolina
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                 (State)
 Case number            15-06503-jw
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                     10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                   U.S. Bank Trust National Association c/o BSI                                    Court claim no. (if known):
 Name of creditor:                ______________________________________                                               14
                                                                                                                   _________________
                                                                                            2 ____
                                                                                           ____ 1 ____
                                                                                                   7 ____
                                                                                                       1
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                 168 Bayridge Court
                                  ________________________________________________
                                  Number        Street

                                  _______________________________________________
                                   Ridgeville                             29472
                                                              SC
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  X     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                   $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                  ____/_____/______
                                                                                     MM / DD / YYYY

  
  X     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:              07/01/2017-10/01/2017 3 @569.27, 11/01/2017 1                          9,317.18
                                                                                                                                (a)   $ __________
                                                                 @ 548.36, 12/01/2017-12/01/2018 13@547.98
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                    +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                            (c)
                                                                                                                                         9,317.18
                                                                                                                                      $ __________
        Creditor asserts that the debtor(s) are contractually
                                                                                                         Suspense Balance               ($175.18)
        obligated for the postpetition payment(s) that first became                   07 01      2017
                                                                                     ____/_____/______
        due on:                                                                      MM / DD / YYYY         Total Due                   $9,142.00

Form 4100R                                                 Response to Notice of Final Cure Payment                                         page 1
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                  Natha     Lee          Mazyck                                                                       15-06503-JW
Debtor 1        _______________________________________________________                       Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
  
  X      I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               __________________________________________________
                  /s/ January N. Taylor
                   Signature
                                                                                              Date     _12/21/2018_______




                    January               N.                Taylor                                     Attorney for Movant
 Print             _________________________________________________________                  Title   ___________________________________
                   First Name                      Middle Name         Last Name




 Company             McMichael Taylor Gray, LLC
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:


                   3550 Engineering Drive, Suite 260
 Address           _________________________________________________________
                   Number                 Street

                    Peachtree Corners,               GA           30092
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone       404
                   (______)474     7149
                            _____– _________                                                         jtaylor@mtglaw.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
                                                              Case 15-06503-jw                                                  Doc                 Filed 12/21/18 Entered 12/21/18 12:22:16                                                                                       Desc Main
                                                                                                                                                      Document     Page 3 of 6
                                                                                                             Payment Changes
                                                                   Date                      P&I                Escrow       Total                  Notice Filed
                                                                           1/1/2016                $327.52         $221.80         $549.32          Filed w/POC
                                                                           1/1/2017                $327.52         $241.75         $569.27          NOPC
                                                                          11/1/2017                $327.52         $220.84         $548.36          NOPC
                                                                          12/1/2017                $327.52         $220.46         $547.98          NOPC
                                                                                                                    $0.00
                                                                                                                    $0.00
                   Loan Information
Loan #                 1
Borrower               NATHA L MAZYCK
BK Case #              15‐06503
Date Filed             12/7/2015
First Post Petition
Due Date               1/1/2016
POC Covers             10/1/15 ‐ 12/1/15                           Agreed Order 5/17/18

       Date                   Amount Rcvd    Post Pet Due Date      Contractual Due Date           Amt Due       Over/Short     Suspense Credit     Suspense Debit   Suspense Balance APO Arrears Credit APO Debit   APO Suspense Balance    APO Paid to Date POC Arrears Credit   POC Debit       POC Suspense Balance POC Paid to Date    Comments
    1/28/2016                   $549.32           1/1/2016               10/1/2015                 $549.32              $0.00                                                    $0.00                                               $0.00                $0.00                                                    $0.00            $0.00
    4/12/2016                                 Trustee Payment                                                           $0.00                                                    $0.00                                               $0.00                $0.00           $55.79                                  $55.79          $55.79
     5/6/2016                                 Trustee Payment                                                           $0.00                                                    $0.00                                               $0.00                $0.00           $51.86                                 $107.65         $107.65
    6/16/2016                                 Trustee Payment                                                           $0.00                                                    $0.00                                               $0.00                $0.00           $40.25                                 $147.90         $147.90
     7/6/2016                                 Trustee Payment                                                           $0.00                                                    $0.00                                               $0.00                $0.00           $41.02                                 $188.92         $188.92
    3/10/2016                   $592.47           2/1/2016                11/1/2015                $549.32            $43.15               $43.15                               $43.15                                               $0.00                $0.00                                                  $188.92         $188.92
    7/31/2016                    $2,500           3/1/2016                12/1/2015                $549.32         $1,950.68            $1,950.68                            $1,993.83                                               $0.00                $0.00                                                  $188.92         $188.92
    7/31/2016                                     4/1/2016                 1/1/2016                $549.32          ‐$549.32                                                 $1,993.83                                               $0.00                $0.00                                                  $188.92         $188.92
    7/31/2016                                     5/1/2016                 2/1/2016                $549.32          ‐$549.32                                                 $1,993.83                                               $0.00                $0.00                                                  $188.92         $188.92
     8/8/2016                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $61.97                                 $250.89         $250.89
     9/7/2016                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.50                                 $292.39         $292.39
    10/7/2016                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.53                                 $333.92         $333.92
    11/8/2016                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.45                                 $375.37         $375.37
    12/2/2016                   $549.32           6/1/2016                 3/1/2016                $549.32              $0.00                                                $1,993.83                                               $0.00                $0.00                                                  $375.37         $375.37
    12/6/2016                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.36                                 $416.73         $416.73
     1/9/2017                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.36                                 $458.09         $458.09
     2/7/2017                                 Trustee Payment                                                           $0.00                                                $1,993.83                                               $0.00                $0.00           $41.35                                 $499.44         $499.44
    2/23/2017                   $569.27           7/1/2016                 4/1/2016                $549.32            $19.95               $19.95                            $2,013.78                                               $0.00                $0.00                                                  $499.44         $499.44
     3/7/2017                                 Trustee Payment                                                           $0.00                                                $2,013.78                                               $0.00                $0.00           $41.35                                 $540.79         $540.79
    3/23/2017                   $600.00           8/1/2016                 5/1/2016                $549.32            $50.68               $50.68                            $2,064.46                                               $0.00                $0.00                                                  $540.79         $540.79
     4/7/2017                                 Trustee Payment              6/1/2016                                     $0.00                                                $2,064.46                                               $0.00                $0.00           $62.02                                 $602.81         $602.81
     4/7/2017                   $549.32           9/1/2016                 7/1/2016                $549.32              $0.00                                                $2,064.46                                               $0.00                $0.00                                                  $602.81         $602.81
     5/5/2017                                 Trustee Payment                                                           $0.00                                                $2,064.46                                               $0.00                $0.00           $41.37                                 $644.18         $644.18
     6/7/2017                                 Trustee Payment                                                           $0.00                                                $2,064.46                                               $0.00                $0.00           $41.36                                 $685.54         $685.54
     7/7/2017                                 Trustee Payment                                                           $0.00                                                $2,064.46                                               $0.00                $0.00           $71.66                                 $757.20         $757.20
    7/31/2017                   $549.32          10/1/2016                 8/1/2016                $549.32              $0.00                                 $19.95         $2,044.51                                               $0.00                $0.00                                                  $757.20         $757.20
     8/7/2017                                 Trustee Payment                                                           $0.00                                                $2,044.51                                               $0.00                $0.00           $41.38                                 $798.58         $798.58
     9/6/2017                                 Trustee Payment                                                           $0.00                                                $2,044.51                                               $0.00                $0.00           $41.38                                 $839.96         $839.96
    10/6/2017                                 Trustee Payment                                                           $0.00                                                $2,044.51                                               $0.00                $0.00           $41.38                                 $881.34         $881.34
    10/23/2017                  $548.36          11/1/2016                 9/1/2016                $549.32             ‐$0.96                                 $19.95         $2,024.56                                               $0.00                $0.00                                                  $881.34         $881.34
    11/8/2017                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.44                                 $922.78         $922.78
    12/6/2017                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.51                                 $964.29         $964.29
     1/9/2018                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.51                               $1,005.80       $1,005.80
     2/6/2018                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $62.25                               $1,068.05       $1,068.05
     3/6/2018                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.52                               $1,109.57       $1,109.57
    4/10/2018                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.52                               $1,151.09       $1,151.09
     5/7/2018                                 Trustee Payment                                                           $0.00                                                $2,024.56                                               $0.00                $0.00           $41.51                               $1,192.60       $1,192.60
                                             Agreed Order entered 5/17/18 iao $10,693.72
                                             jfor (12/1/16 ‐5/1/18). Debtor to pay $445.58
                                               beginning 6/15/18 for 24 month, 6/15/18 –
                                              5/15/20. Regular monthly pmnts to resume
                                                                  6/1/18.                                               $0.00                                                                                                        $0.00               $0.00                                                 $1,192.60        $1,192.60
    6/19/2018                  $1,162.93           6/1/2018                10/1/2016               $547.98            $614.95            $614.95                              $614.95                                                $0.00               $0.00                                                 $1,192.60        $1,192.60
    6/19/2018                               Applied APO 6/15/18                                                         $0.00                                $445.58          $169.37            $445.58   $445.58                   $0.00            $445.58                                                  $1,192.60        $1,192.60
    6/20/2018                                  Trustee Payment                                                          $0.00                                                 $169.37                                                $0.00            $445.58             $41.51                               $1,234.11        $1,234.11
    7/12/2018                  $1,000.00           7/1/2018                11/1/2016               $547.98            $452.02            $452.02                              $621.39                                                $0.00            $445.58                                                  $1,234.11        $1,234.11
    7/12/2018                               Applied APO 7/15/18                                                         $0.00                                $445.58          $175.81            $445.58   $445.58                   $0.00            $891.16                                                  $1,234.11        $1,234.11
    7/24/2018                                  Trustee Payment                                                          $0.00                                                 $175.81                                                $0.00            $891.16             $41.74                               $1,275.85        $1,275.85
    7/24/2018                                Pre petition apllied          12/1/2016                                    $0.00                                                 $175.81                                                $0.00            $891.16                            $549.32                $726.53         $1,275.85
    8/15/2018                   $980.05            8/1/2018                 1/1/2017               $547.98            $432.07            $432.07                              $607.88                                                $0.00            $891.16                                                   $726.53         $1,275.85
    8/15/2018                               Applied APO 8/15/18                                                         $0.00                                $445.58          $162.30            $445.58   $445.58                   $0.00           $1,336.74                                                  $726.53         $1,275.85
    8/15/2018                                  Trustee Payment                                                          $0.00                                                 $162.30                                                $0.00           $1,336.74            $62.93                                $789.46         $1,338.78
     9/7/2018                                  Trustee Payment                                                          $0.00                                                 $162.30                                                $0.00           $1,336.74            $64.31                                $853.77         $1,403.09
    10/4/2018                                  Trustee Payment                                                          $0.00                                                 $162.30                                                $0.00           $1,336.74            $38.11                                $891.88         $1,441.20
    10/22/2018                 $2,000.00           9/1/2018                 2/1/2017               $547.98          $1,452.02           $1,452.02                            $1,614.32                                               $0.00           $1,336.74                                                  $891.88         $1,441.20
    10/22/2018                              Applied APO 9/15/18                                                         $0.00                                $445.58         $1,168.74           $445.58   $445.58                   $0.00           $1,782.32                                                  $891.88         $1,441.20
    10/22/2018                                    10/1/2018                 3/1/2017               $547.98           ‐$547.98                                $547.98          $620.76                                                $0.00           $1,782.32                                                  $891.88         $1,441.20
    10/22/2018                              Applied APO 10/15/18                                                        $0.00                                $445.58          $175.18            $445.58   $445.58                   $0.00           $2,227.90                                                  $891.88         $1,441.20
    12/6/2018                                  Trustee Payment                                                          $0.00                                                 $175.18                                                $0.00           $2,227.90         $1,171.97                               $2,063.85        $2,613.17
    12/6/2018                                Pre petition apllied           4/1/2017                                    $0.00                                                 $175.18                                                $0.00           $2,227.90                           $549.32               $1,514.53        $2,613.17
    12/6/2018                                Pre petition apllied           5/1/2017                                    $0.00                                                 $175.18                                                $0.00           $2,227.90                           $549.32                $965.21         $2,613.17
    12/6/2018                                Pre petition apllied           6/1/2017                                    $0.00                                                 $175.18                                                $0.00           $2,227.90                           $549.32                $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
        Due                                     11/1/2018                  7/1/2017                $547.98           ‐$547.98                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                              APO 11/15/2018                                       $445.58           ‐$445.58                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                                12/1/2018                                          $547.98           ‐$547.98                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                               APO 12/15/18                                        $445.58           ‐$445.58                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00           $2,227.90                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
                                                                                                                        $0.00                                                 $175.18                                                $0.00               $0.00                                                  $415.89         $2,613.17
Case 15-06503-jw           Doc   Filed 12/21/18 Entered 12/21/18 12:22:16   Desc Main
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                   $0.00                 $175.18           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
                   $0.00                   $0.00           $0.00   $0.00                $415.89   $2,613.17
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                                  Document     Page 6 of 6


                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA


IN RE:
NATHA LEE MAZYCK                                   CASE NO. 15-06503-jw
                                                   CHAPTER 13
                    DEBTOR

                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies under penalty of perjury that he/she is over eighteen
(18) years of age RESPONSE TO NOTICE OF FINAL CURE in the above captioned case
were this day served upon the below named persons by mailing, postage prepaid, first class mail
a copy of such instrument to each person(s), parties, and/or counsel at the addresses shown
below:

Natha Lee Mazyck
168 Bay Ridge Court
Ridgeville, SC 29472

Elizabeth R Heilig
Meredith Law Firm, LLC
4000 Faber Place Drive
Suite 120
N. Charleston, SC 29405

James M. Wyman
PO Box 997
Mount Pleasant, SC 29465-0997


This 21st day of December, 2018.

                                          /s/ January N. Taylor, Esq.
                                          January N. Taylor, ESQ., (I.D. 6079)
                                          McMichael Taylor Gray, LLC
                                          3550 Engineering Drive, Suite 260
                                          Peachtree Corners, GA 30092
                                          (404)474-7149
                                          jtaylor@mtglaw.com
